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 1                                                            THE HONORABLE JAMES L. ROBART

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 5

 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     UNITED STATES OF AMERICA,                         )
 9                                                     )   Case No. 2:12-cv-01282-JLR
                                    Plaintiff,         )
10                                                     )   CITY OF SEATTLE’S AUGUST 2022
                    v.                                 )   QUARTERLY ACCOUNTABILITY
11                                                     )   UPDATE
     CITY OF SEATTLE,                                  )
12                                                     )
                                    Defendant.         )
13                                                     )
                                                       )
14                                                     )
                                                       )
15

16
             The Court-approved “Monitoring Plan,” Dkt. 655-1 and the proposed 2022 Monitoring Plan,
17
     include a commitment to provide quarterly reports on the City’s progress. This report includes updates
18
     regarding (I) ongoing work under the Monitoring Plan, and (II) quarterly, quantitative data from the
19
     Seattle Police Department (SPD) regarding the use of force and the Office of Police Accountability
20
     (OPA) regarding police discipline and appeals.
21
        I.      SPD Continues to fulfill its obligations to the task items in the Monitoring Plain.
22
             The Monitoring Plan includes a variety of discrete tasks, ongoing projects, and other activities
23
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      ACCOUNTABILITY UPDATE - 1                                                         701 5th Avenue, Suite 2050
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 1   to include in the City’s quarterly reports. The following updates reflect SPD’s ongoing commitment

 2   to fulfilling its obligations under the consent decree and the monitoring plan.

 3       A.      The City’s “Re-Imagining Public Safety” program is being developed to meet
                 measurable improvement and efficiency goals.
 4
              The City is committed to designing diversified 911 responses which recognize that not all
 5
     calls for service require a sworn officer. Indeed, the City believes that certain call types may benefit
 6
     from a diversified response. The ongoing shortage of police officers is another reason for a robust
 7
     diversified 911 response system. The City is focused on developing diversified 911 response
 8
     options that are cost effective, scalable, and contribute to overall improvements in public safety
 9
     services.
10
              It will, however, take time for the City to launch a fully operational diversified response
11
     system for calls currently routed to SPD. Various initiatives related to this have been proposed
12
     over the last two years, but a systematic, rigorous, and holistic approach to this work has been
13
     lacking. The City is undertaking efforts to develop and deploy a comprehensive system.. In the
14
     short term, the City will explore and execute potential pilot programs for diversified 911 response
15
     systems, as well as evaluate whether existing resources can be redeployed or more efficiently
16
     deployed on staffing projects like Special Events to increase SPD or alternative response to priority
17
     three and four calls in the near term, without engaging in costly expenditures in the face of a
18
     prospective budget deficit.
19
              The City’s work in this area is guided by the following questions:
20
                 1. What types of 911 and non-emergency calls should be assigned to a diversified
21               response?
                 2. What are the most cost-effective and scalable solutions to respond to these calls?
22               3. To what extent does Seattle need to acquire or reallocate existing resources to
                 deploy a diversified response system?
23
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 1              4. What changes to operational and IT systems need to happen to facilitate a
                diversified response dispatch system?
 2              5. Where should diversified response functions be situated/located?
                6. To what extent will a diversified response system free up police officers for higher
 3              priority calls?

 4   These questions will be answered using a multi-step approach. First, SPD is in the process of

 5   completing a sophisticated and innovative analysis of the risk of 911 calls. As discussed more in

 6   section I(B)(2) below, this builds on the National Institute of Justice’s report (“NICJR report”)

 7   on SPD call types. This analysis - Risk-Management Demand (RMD) - is being conducted by

 8   SPD’s research scientists under the oversight of researchers from the Institute of Criminology at

 9   the University of Cambridge. SPD is nearing completion of this analysis.

10          The RMD analysis is complementary, not duplicative, of the NICJR report. The report

11   was extremely valuable as a starting point for a call shifting analysis; however, in reaching its

12   conclusions, the report analyzed calls based on their conclusions, not the initial facts that a 911

13   call taker would have interpreted and inputted. Focusing on the final call type and the result of

14   the call, the report made recommendations on low-risk calls that could be transitioned to a

15   diversified response. However, the report does not include analysis based on additional context

16   that, at the moment of dispatch, a 911 call taker would not know. To the contrary, during the

17   evaluation period, it was determined that a high percentage of calls resolved differently than how

18   they came in. This disparity presents a level of uncertainty that must be quantified to inform the

19   appropriate response to each call type and to determine what amount of risk is acceptable to the

20   City and providers who may be responding to these calls. Ultimately, SPD and the Mayor’s

21   Office seek to use the RMD as confirmatory evidence for determining what call types are good

22   candidates for a diversified response. Per the results of the RMD analysis, SPD anticipates it will

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 1   be able to place calls into a risk matrix that accounts for both the likelihood and the consequence

 2   of various call type outcomes.

 3          Simultaneous to the comprehensive review work, the workgroup convened by the

 4   Mayor’s Office, including the City Council, SPD, the Community Safety and Communications

 5   Center (CSCC), and the Seattle Fire Department, will recommend approaches that increase SPD

 6   or alternative response to priority three and four calls in the near term, through an alternative

 7   response pilot and evaluation of existing resource that could be redeployed or more efficiently

 8   deployed on projects like Special Events. After this review is completed, the Mayor’s Office

 9   will put forth a preliminary recommendation on the subset of calls that may be good candidates

10   to divert from police. The recommendation will also identify calls that may warrant a co-

11   response along with calls that will continue to dispatch police as a first response. The Mayor’s

12   Office anticipates that this process will be completed in the fall of 2022.

13          After completion of the recommended modifications to call dispatch options, the Mayor’s

14   Office will begin to explore the feasibility of different responses and begin preparing for

15   expected labor negotiations. To do so, the Mayor’s Office will set up a workgroup – which will

16   include the City Council and other stakeholders – to evaluate different models and to help

17   envision and craft Seattle’s diversified response system. The result of this workgroup will be a

18   white paper that will set forth the executive’s proposal for a comprehensive diversified response

19   system, including an evaluation of personnel and staffing requirements. This white paper will be

20   completed by the end of 2022.

21

22

23
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 1         B.      The City continues to implement initiatives within the Innovation and Risk
                   Management areas
 2
                    1. Officer Accountability and Trust Hub (OATH) (Next generation EIS).
 3
                The Officer Accountability and Trust Hub (OATH) is the SPD’s response to deficiencies
 4
     identified in the current, threshold based, Early Intervention System (EIS). A 2017 study of the
 5
     current EIS found a general lack of precision, as well as a high false positive rate of alerts
 6
     penalizing highly productive and female officers. Since, SPD has produced a Machine Learning
 7
     based EIS, leveraging the breadth of data and data processing available from the Data Analytics
 8
     Platform (DAP). The prototype, built in collaboration with Accenture under a public/private
 9
     partnership to explore the viability of such a solution, was able to identify an officer forecast to
10
     receive a complaint at a level of precision greater than 60% 1 and scoped requirements for
11
     engineering infrastructure necessary to process data on a routine basis.
12
                Beginning in the spring of 2021, the SPD undertook an effort to upgrade the data
13
     processing infrastructure underlying the DAP. DAP 2.0 will be “System Ready” 2 in the first
14
     week of August, 2022, with “Go Live”3 projected before the end of the third quarter, 2022. 4
15
     OATH integration is fully funded and contracted. Under this project, the OATH data models are
16
     configured to run on DAP 2.0 data, considering nearly 400 individual data elements in the
17
     forecast of officer adverse events (e.g., sustained complaints). These insights are deconstructed
18

19   1
       Findings from that prototype effort identified a precision rate for the threshold-based system, currently in operation,
     around 25%.
20   2
       All engineering infrastructure, data sources and processes are operational but not in use.
     3
       All production data and analytical resources are based on DAP 2.0 data.
     4
       In addition to reengineering the DAP structures and processes to ingest and render data for processing and
21
     analysis, Go Live requires reconstruction of data sources and analytical products in Tableau Server. In December of
     2021, the Department purchased new internal and external facing Tableau Servers to support enhanced capacity needs
22   and high availability public data assets (dashboards and data sources for public access). Those assets will be fully
     system ready at the end of July, 2022 and can then be configured to accept upgraded data from DAP 2.0.
23
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 1   using a technique called “explainability” and packaged for supervisors as guidance on supportive

 2   interventions. These supportive interventions are being developed in collaboration with the

 3   focused deterrence subject matter experts at the National Network for Safe Communities

 4   (NNSC)5 at John Jay College and are being designed to identify and address behaviors

 5   potentially leading to the receipt of a sustained complaint.

 6             OATH is scheduled and on track to be in production and rendering predictions by the end

 7   of 2022. It will be run in parallel with the existing system for a period of six months. After this

 8   evaluation period, the rate of true and false positive and negatives will be compared and the City

 9   may choose to implement the new system, assuming no objection from the parties. The OATH

10   models and code used to render predictions is built on open-source software and will be made

11   available, free of charge, in a public facing repository.

12                  2. Risk Managed Demand (RMD)

13             Following the events of the Summer of 2020, and an emphasis on efforts to reimagine

14   policing, the SPD completed several progressively more robust analyses to determine which of the

15   approximately 300 discrete call types currently responded to by officers can be handled by

16   alternative or co-responders, and how to do so—safely. The NICJR report established a rough

17   estimate of the opportunity for differential police response. Recently, the RMD project has entered

18   a prototype data phase to further refine those estimates through a risk management approach

19   common to commercial aviation.

20             Under the developing approach, the likelihood of a severe outcome (death, serious injury,

21   injury requiring treatment or other harm) is used to classify four tiers of response. These tiers are

22
     5
         Home - National Network for Safe Communities (NNSC) (nnscommunities.org)
23
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 1   designed to mitigate or eliminate the risk of direct and/or indirect harm associated with the service

 2   being requested (e.g., a burglary report, a person in crisis) and the collateral harm potential of an

 3   armed response. As noted above, this data analysis is nearing completion. 6 SPD has funded and

 4   contracted work, to operationalize the concept utilizing natural language processing. Currently, in

 5   collaboration with the Community Safety Communication Center (CSCC), the Department is

 6   exploring several vendors capable of rendering call triage on the fly, while simultaneously

 7   constructing base statistical models for the identification of risk, latent in the nearly 41,000

 8   permutations of service rendered by the operation.

 9          C.       SPD continues to refine and implement the Equity, Accountability and Quality (EAQ)
                     system.
10
                 Equity, Accountability & Quality (EAQ) is a novel accountability meeting format (e.g.,
11
     CompStat) and we believe the first of its kind in the United States to use measures, other than the
12
     crime rate, to manage police service. As the name suggests, three areas of analytical focus (e.g.,
13
     equity, accountability, quality) establish a focus for monthly meetings of Department leadership.
14
     Utilizing analytical processes established to demonstrate compliance with and sustainment of
15
     Consent Decree priorities or through SPD’s research program (a subordinate program to the
16
     Performance Analytics & Research group, which also manages data warehousing and data
17
     governance), measures of disparity in decision to search (i.e., differential perceptions of
18
     dangerousness), over and under policing of neighborhoods (geostatistical analysis of Automated
19
     Vehicle Locator Data) and the qualities of interactions between police and the community
20

21

22
     6
         Sufficient to establish estimates of staffing for each response tier.
23
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 1   (analyzed utilizing machine learning of bodyworn video) are used to focus strategic engagement

 2   around procedural justice.

 3              EAQ entered an integration phase in advance of DAP 2.0 go live (a dependency), in

 4   December 2021. During this time, analytical products were tested with leadership, the format of

 5   the meeting was developed and a third-party quality assurance contractor 7 was engaged to confirm

 6   and consult on the methods employed. The project is currently on pause until DAP 2.0 can integrate

 7   the analytical processing code for Equity and Accountability metrics (work currently in progress).

 8   The Quality component of the project is pending successful model fit validation of the Truleo

 9   platform but is scheduled to come online before the end of the year.

10         D.      SPD has completed deployment of the ABLE/Peer Intervention Training.

11              SPD has completed a nationally recognized, peer-intervention training program for law

12   enforcement officers created by Georgetown University Law Center, the Active Bystandership

13   for Law Enforcement (ABLE) Project. The goals of the ABLE Project are to “create a police

14   culture in which officers routinely intervene as necessary to: prevent misconduct, avoid police

15   mistakes, and promote officer health and wellness.”1 All eligible sworn personnel have

16   completed this training. Principles of this training will be sustained through implementation into

17   ongoing in-service training and SPD’s new Before the Badge training for recruits.

18              In the Monitor’s Semi-Annual Report, dated August 3, 2021 (Dkt. # 680), SPD identified

19   several core projects related to risk management, including the Before the Badge training

20   program for recruit and lateral police and community service officers, next-generation early

21
     7
       Research Triangle Institute (RTI) International was engaged to vet the methods and provide guidance on the
22   deployment of EAQ. A final report and a manuscript for peer review are in draft. Publication is forthcoming, before
     the end of the third quarter, 2022.
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 1   intervention system, and the Equity, Accountability, and Quality Program (EAQ). SPD is

 2   pleased to have now completed two, and begun a third, inaugural sessions of the Before the

 3   Badge (BTB) program, a 45-day pre-academy training for new recruits, community service

 4   officers, and lateral officers, that pulls recruits out of traditional classroom training and immerses

 5   them in community-based, peer-based, and introspective experiences that will provide them both

 6   a lens through which to receive their Basic Law Enforcement Academy training and, reinforced

 7   through post-academy field training, a foundation upon which to build their careers as Seattle

 8   Police Officers. Structured to allow for a one-week particularized focus on each of Seattle’s

 9   geographic precincts, programming falls into three general “buckets” of learning: community

10   centered dialogue and learning (relational policing), outward mindset and engagement, and

11   officer wellness and development. The sessions to date have included training and facilitation

12   by inhouse subject matter experts and contracted psychology professionals, criminal justice

13   academics, and leadership experts, focusing on topics that include:

14                 Principles of neuroscience and impact of complex trauma, childhood experiences
                    (Adverse Childhood Experience Scores), elevated anxiety, the intersection of
15                  trauma responsive practices and diversity, equity and inclusion;

16                 Collaboration with Seattle University that leverages research into community
                    perceptions of crime and public safety in Seattle to facilitate micro-community
17                  meetings, during which cohorts have an opportunity to listen to community
                    members and share their reasons for joining for SPD;
18
                   "Outward Mindset" training, a philosophical learning method that organizations
19                  can use to meet goals and objectives by focusing on individuals’ humanity, using
                    self-awareness, mindset, accountability, and collaboration tools. The first and
20                  second cohorts successfully demonstrated the use of the Outward Mindset
                    strategies during their interactions with the community throughout the program.
21
                   Engagement with BIPOC communities (Black, LatinX, East African, Middle
22                  Eastern, Filipino) in transparent dialogue to educate officer recruits on their
                    community histories and the history of policing within those communities; and
23
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 1
                     Wellness training around mindfulness, resilience, and physical fitness.
 2
             In addition, BTB is augmented with several programs to enhance cohort participants'
 3
     understanding of Relational Policing, including dialogues with formerly incarcerated individuals,
 4
     gender responsiveness, LGTBQ perspectives, and the City’s Race and Social Justice
 5
     Initiative. Included in this training is viewing and training around the film “Who We Are: A
 6
     Chronicle of Racism in America (2021),” documenting the history of policing in Black
 7
     communities in the U.S.
 8
             Feedback from participants in the program has been overwhelmingly positive (see Exh. A,
 9
     which includes screenshots of feedback and ratings received from Cohort 1). Examples of
10
     comments received include:
11
                     BTB has given me the chance to look at SPD/policing in a different way, I feel
12                    more confident in myself to enter law enforcement, being able to serve
                      people/community/family and myself better day to day.
13
                     I am glad that I attended the Before the Badge training. SPD is a department that
14                    truly cares about its employees and their mission to build trust with the greater
                      Seattle community through relational policing and community engagement, is one
15                    that embodies both excellence and integrity.

16
        E.        SPD has responded to Sentinel Event Review recommendations
17
             SPD continues to participate in the Sentinel Event Reviews and has timely responded to
18
     each of the reports issued so far. Copies of SPD response to Wave 1 and Wave 2 are attached as
19
     Exhibit B.
20

21

22

23
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 1         II.      SPD’s Quantitative reporting reflects sustained compliance with the Consent
                    Decree.
 2
           A.       SPD quarterly data for January 1, 2022, through June 30, 2022, demonstrates
 3                  stability with respect to use-of-force and crisis-intervention outcomes.

 4               The Monitoring Plan requires SPD to provide quarterly data and analysis “to facilitate

 5   oversight and long-term trend analysis.” 2021 Monitoring Plan (Dkt. 655-1) at 3, line 13. One

 6   important metric that has been tracked throughout the Consent Decree is the amount of serious

 7   force8 used by SPD officers. When comparing results with findings from previous reporting

 8   periods, the numbers generally show stability in the number of incidents involving a serious use

 9   of force See Table 1.

10   Table 1. Incidents involving a serious use of force

11                 Time Period                                      Incidents Involving a Serious
                                                                    Use of Force
12                 DOJ’s 2011 Investigation                         1,230
                   January 2009 - April 2011
13
                   July 2014 - October 2016                         487
14
                   January 2017 - April 2019                        454
15
                   May 2019 - August 2021                           857 (associated with demonstrations)
16                                                                  737 (excluding demonstrations)

17                 July 2021 – June 20229                           225 (excluding demonstrations)

18

19
     8
       Serious force includes all Type II and Type III uses of force. Type II force is defined as “[f]orce that causes or is
20   reasonably expected to cause physical injury greater than transitory pain but less than great or substantial bodily harm.
     Type III force is defined as “[f]orce that causes or may be reasonably expected to cause substantial bodily injury.” See
     Seattle Police Manual § 8.050, available at https://www.seattle.gov/police-manual/title-8---use-of-force/8050---use-
21
     of-force-definitions
     9
       Because prior quarterly reporting included data through August 2021, the reporting periods are not aligned with a
22   quarterly division of the year. As a result, the third quarter of July through September, is counted in both the fourth
     and fifth row. Consequently, the number of incidents involving a serious use of force is lower than reported.
23
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 1              Below the City provides SPD’s serious force data from the past 2.5 years, broken out by

 2   type of force. See Table 2.

 3   Table 2. Incidents involving serious (Type II or III) uses of force

 4

 5

 6
                When excluding the force used during the 2020 demonstrations, the overall numbers have
 7
     remained relatively stable compared to previous years.
 8
     Table 3. Total number of uses of force10
 9

10

11

12

13
                In addition to amount of force, the Monitor and the parties also have considered the rate of
14
     force used by SPD. That is, how frequently do interactions between police officers and members
15
     of the public result in a use of force? One method that the Monitor and SPD have used to estimate
16
     this rate is taking the number of reported uses of force and dividing it by the number of
17
     “dispatches” (i.e., the number of events to which officers were either dispatched or which they on-
18
     viewed in the field). Monitor’s Ninth Systemic Assessment (Dkt. 383) at 30 (reporting that SPD
19
     used force in 0.3% of all incidents, while noting this figure is approximate). When SPD last
20
     reported the rate of force to the Court, it was less than one-fifth of one percent (0.15%) of all
21

22
     10
          Excludes force used during demonstrations.
23
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 1   officer dispatches for calendar year 2019. SPD’s Use of Force Rept. (Dkt. 605-1) at 2. This rate

 2   shows that, overall, the use of force by Seattle police officers has become an empirically rare

 3   occurrence. See id. Once again, excluding the force used during demonstrations, quarterly data

 4   from the past two and a half years demonstrates sustainment. See Table 4.

 5   Table 4. Total number of uses of force divided by number of dispatches, excluding force used during
     demonstrations
 6

 7

 8
             The excessive use of force against individuals experiencing behavioral crisis was a critical
 9
     finding in DOJ’s 2011 investigation. DOJ Findings Letter (Dkt. 1-1) at 4. During Phase I, the
10
     Monitor evaluated SPD’s compliance with Consent Decree mandated crisis intervention practices
11
     and found that SPD had met the requirements in this area. Monitor’s Fifth Assessment (Dkt. 272)
12
     at 1. The Monitor concluded that “SPD has, in a relatively brief amount of time, created a full-
13
     fledged crisis intervention program that is successfully being woven into the SPD organization.”
14
     Id. at 4.
15
             Due to these training and programmatic changes, the use of force in crisis incidents has
16
     become infrequent. The Monitor reported in 2016 that this rate had fallen to less than 2 percent and
17
     observed, “[t]hese numbers suggest that the SPD is using significant and appropriate restraint in
18
     difficult situations, making decisions that preserve safety and reduce use of force.” Monitor’s Fifth
19
     Assessment (Dkt. 272) at 11-12. When the City last reported on this metric to the Court, for the 18-
20
     month period from Jan 1, 2018, to June 30, 2019, reportable force was used in only two percent of
21
     crisis contacts. SPD’s Crisis Intervention Rept. (Dkt. 588-3) at 27. Over the past two and a half years,
22
     this rate has remained consistently low, fluctuating between 1.7 and 3.72 percent. See Table 5 (note
23
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 1   that data in Table 5 includes force used during the demonstrations).

 2   Table 5. Percentage of crisis contacts in which reportable force occurred.

 3

 4

 5          B.      Quarterly data on police disciplinary investigations and appeals.

 6               Under the Court-approved Monitoring Plan, the City committed to submit data to the Court

 7   regarding disciplinary investigations and appeals. When it receives a complaint alleging that one

 8   or more officers have committed a serious policy violation, OPA opens a new investigation. The

 9   police union contracts require that OPA must complete its investigations within 180 days, with

10   some exceptions. Between October 1, 2021, and December 31, 2021, OPA opened 114 new

11   investigations. Between December 1, 2022, and March 31, 2022, OPA opened 102 new

12   investigations. Between April 1, 2022, and June 30, 2022, OPA opened 131 new investigations.

13   As of July 21, 2022, OPA had a total of 240 open investigations. These data are consistent with

14   prior quarterly reports.

15               OPA completed 50 investigations during the fourth quarter of 2021, 67 investigations

16   during the first quarter of 2022, and 100 investigations during the second quarter of 2022. For each

17   of these investigations, the OPA Director issued a memo with their conclusions and recommended

18   findings to the Chief of Police. As noted above, all OPA findings issued since 2016 are available

19   on OPA’s website.11 If the evidence shows that a serious violation of SPD policy occurred, the

20   OPA Director will recommend a “sustained” finding. If the evidence shows that misconduct did

21   not occur, the Director will likely recommend a “not sustained” finding. Out of the 217 completed

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     11
          Available at https://www.seattle.gov/opa/news-and-reports/closed-case-summaries
23
      CITY OF SEATTLE’SAUGUST 2022 QUARTERLY                                                Ann Davison
                                                                                            Seattle City Attorney
      ACCOUNTABILITY UPDATE - 14                                                            701 5th Avenue, Suite 2050
      (12-CV-01282-JLR)                                                                     Seattle, WA 98104-7095
                                                                                            (206) 684-8200
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 1   investigations, OPA recommended sustaining allegations in 40 of these cases (18%) against a total

 2   of 48 SPD employees, which is a modest decrease over prior reporting. In 2022, there have been

 3   six force related cases to-date (for three different officers); two of the cases involved sustained

 4   use-of-force findings; two involved sustained use-of-force de-escalation findings; and two

 5   sustained force reporting violations.

 6            If the OPA Director recommends finding that an employee committed misconduct, then

 7   the Chief of Police decides whether to impose discipline and what the discipline should be.

 8   Examples of discipline include oral reprimand, written reprimand, demotion, reassignment,

 9   suspension from work (without pay), and termination. If the Chief decides not to follow one of the

10   OPA Director’s recommended findings, then the Chief must issue a public statement explaining

11   the reasons. Thus far in 2022, the Chief has overturned one of OPA’s findings, a decision described

12   in the City’s last quarterly report. Dkt. 682 at 10-11. Between October 1, 2021, and June 30, 2022,

13   as a result of OPA’s investigations, the Chief imposed discipline on 51 officers. 12 During this time,

14   eight disciplinary appeals were filed related to an OPA recommended finding of misconduct.

15
                                                     CONCLUSION
16
              Consistent with the Monitor’s conclusion in the Comprehensive Assessment (Dkt. #709)
17
     the City has maintained, and often improved, its efforts to meet its Consent Decree requirements.
18

19

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21   12
       Because the Chief must review and contemplate disciplinary matters before reaching a decision, there is a time lag.
     Some of the cases in which the Chief imposed discipline in the third quarter were closed by OPA before the third
22   quarter.

23
      CITY OF SEATTLE’SAUGUST 2022 QUARTERLY                                                       Ann Davison
                                                                                                   Seattle City Attorney
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 1   Respectfully submitted,

 2   DATED this 1st day of August, 2022.

 3
            For the CITY OF SEATTLE
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 5
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